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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                       )
                                               )
                v.                             )       Criminal No. 19-cr-10345-DPW
                                               )
ANNE M. LYNCH,                                 )
     Defendants                                )


        DEFENDANT’S UNOPPOSED MOTION FOR PERMISSION TO TRAVEL
______________________________________________________________________________

       Defendant Anne M. Lynch, by and through undersigned counsel, hereby moves this

Honorable Court to grant her permission to travel to the State of Florida from March 3, 2020

through March 24, 2020 to visit with family and friends. In support of this Motion, defendant

states, by and though undersigned counsel, the following:

       1.       Defendant was arrested and appeared for her initial appearance on August 21, 2019.

       2.       On August 21, 2019, defendant was released on an unsecured bond of $25,000.00

                with multiple conditions of pre-trial release, including restricting travel to the six

                New England States (VT, ME, NH, MA, RI, CT) and New York unless otherwise

                permitted by the Court. To date, defendant has fully complied with all of her

                conditions of release.

       3.       On September 12, 2019, an Indictment was filed against her charging her with, inter

                alia, a racketeering conspiracy in violation of 18 U.S.C. § 1962(d), racketeering in

                violation of 18 U.S.C. § 1962(c), conspiracy to commit honest services wire fraud

                in violation of 18 U.S.C. § 1349, and honest services wire fraud in violation of 18

                U.S.C. § 1343 and 1346. On September 23, 2019, defendant was arraigned and
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                released on the same conditions of pre-trial release. To date, defendant has fully

                complied with all of her conditions of release.

       4.       Defendant now moves for permission to travel to the State of Florida to visit with

                friends and family during the month of March. In the event this Court grants her

                request, defendant plans to fly from Boston to Orlando, Florida the week of March

                3rd and fly home from Orlando, Florida the week of March 24th.

       5.       Defendant has provided US Probation Officer April Nichols with an itinerary

                detailing where she will be staying and with whom she will be staying each night

                including the names, addresses and phone numbers where she can be reached at all

                times.

       6.       Finally, undersigned counsel has conferred with the government and with US

                Probation and neither objects to this travel request.

       WHEREFORE, defendant respectfully requests this Honorable Court to grant this motion

and permit her to travel to the State of Florida between March 3, 2020 and March 24, 2020.


                                                       Respectfully submitted,
                                                       For the Defendant,
                                                       Anne E. Lynch
                                                       By his attorneys:



                                                         /s/ Scott P. Lopez
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Dated: February 4, 2020

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                      CERTIFICATE PURSUANT TO LOCAL RULE 7.1

        The undersigned counsel for Anne E. Lynch hereby certifies that he conferred with AUSA
Kristina Barclay in person on January 16, 2020 and by electronic mail yesterday and today in a
good faith attempt to resolve or narrow the issues raised in this motion and the government has no
objection to the Court granting this motion.

                                                       /s/ Scott P. Lopez
                                                     Scott P. Lopez



                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) on February 4,
2020.


                                                      /s/ Scott P. Lopez
                                                     Scott P. Lopez




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